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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


 VEROBLUE FARMS USA INC.,                                   §
    Plaintiff                                               §
                                                            §
   v.                                                       §
                                                            §
 LESLIE A. WULF, BRUCE A. HALL, JAMES                       §
 REA, JOHN REA, and KEITH DRIVER,                           §
    Defendants/Third Party Plaintiffs,                      §            CIVIL ACTION NO. 3:19-CV-00764-L
                                                            §
   v.                                                       §                       HON. BRANTLEY STARR
                                                            §
 EVA EBSTEIN, JENS HAARKOETTER, BJORN                       §
 THELANDER, ANDERS WESTER, NORMAN                           §
 MCCOWAN, DR. OTTO HAPPEL and ALDER                         §
 AQUA, LTD.                                                 §
   Third-Party Defendants                                   §




    DEFENDANTS/THIRD-PARTY PLAINTIFFS’ RESPONSE AND BRIEF IN
OPPOSITION TO THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION
RULE 12(B)(6) MOTION TO DISMISS THE AMENDED THIRD PARTY COMPLAINT




                                                                i

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         Defendants/Third Party Plaintiffs, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), John

E. Rea (“Ted Rea”), and James Rea (“James Rea”) (collectively “Founders”), hereby respond to

Third Party Defendant, Norman McCowan (“McCowan”)’s Rule 12(b)(6) Motion to Dismiss the

Amended Third Party Complaint against him. [Dkt. No. 229.] In further opposition to McCowan’s

Motion, Founders state:

                                          FACTUAL BACKGROUND

         Founders were the founders, officers, and directors of VeroBlue Farms, USA, Inc.

(“VBF”), and were among its original shareholders and officers: CEO (Wulf), CFO (Hall), COO

(T. Rea) and Construction Director (J. Rea). (Amended Third Party Complaint, Dkt. No. 186

(“TPC”), ¶13.) At various times between 2014 and 2016, each of the Founders served as Directors

on VBF’s Board as well. (Id.) In July 2016, Alder Capital International Ltd., (“Alder” which later

became Alder Aqua, Ltd.), and FishDish LLC, an Iowa investor group (“FishDish”), together

invested $34,000,000 in VBF through a purchase of preferred stock. (Id., ¶ 14.) Third Party

Defendant McCowan was appointed by Alder representatives to be VBF’s CEO immediately prior

to Wulf’s termination in November 2017. (Id., ¶ 18.) At the same time, it invested equity into

VBF, Alder extended a line of credit to VBF, through its affiliate, Amstar Funds (“Amstar”), and

in exchange, VBF issued warrants to Alder that could be exercised to obtain additional shares, via

a separate agreement. (Id., ¶ 15.)

         Within a year of Alder’s investment, in July 2017, VBF had drawn down on the Amstar

loan and Alder exercised certain warrant rights, which resulted in Alder owning a controlling

interest (54%) in VBF. (TPC, Dkt. No. 186, ¶¶ 15, 16.) Within weeks, Thelander, along with

Alder representative and VBF board member, Jens Haarkoetter, and Alder principals, Otto Happel

(“Happel”) and his daughter Eva Ebstein (“Ebstein”), began serially terminating Founders from

                                                              1

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their positions with VBF. (Id., ¶¶ 18, 35-40, 44-46, 49, 57-60.) Since then, Founders have

discovered that McCowan and the other Third-Party Defendants participated in a scheme to oust

Founders from management, falsely accuse them of a litany of misdeeds, and avoid, or otherwise

breach VBF’s contractual obligations to the Founders. (Id., ¶ 18.) Specifically, McCowan and the

other Third-Party Defendants negotiated termination agreements between three of the four

Founders and VBF, and then directed VBF to fabricate reasons to avoid its obligations to Founders

under such agreements.1 (Id., ¶ 19, Exs. A-D.) This was succinctly stated by Ebstein in an email

to Thelander before terminating Mr. Wulf: “[A]nyone terminated by Les received a lovely golden

parachute of other people’s money. We need to try and avoid this, if legally permissible.” (Id., ¶

46, Ex. E.)

          On July 31, 2018, VBF filed suit against Founders claiming they had misappropriated

funds and committed other misdeeds while officers and directors of the company.2 (TPC, Dkt. No.

186, ¶ 21.) On April 10, 2019, the Founders filed their Third-Party Complaint (“TPC”) against

Thelander and six other directors and investors in VBF. [Dkt. No. 66.] The complaint was

amended on November 8, 2019. [Dkt. No. 186.] In the TPC, each Founder asserts that McCowan

and the other Third-Party Defendants tortiously interfered with his respective agreement with

VBF, which led to VBF breaching its obligations to the Founders under these contracts.

McCowan’s Motion mischaracterizes the rulings in VBF’s bankruptcy proceeding and fails to

establish deficiencies in Founders’ allegations at this pleading stage. Founders claims are properly

stated against Alder and should proceed.



1
 Founders’ respective agreements with VBF are defined as they are in the TPC. (See TPC, Exs. A-D.)
2
 Shortly thereafter, on September 21, 2018, VBF filed for Chapter 11 bankruptcy protection in the Northern District
of Iowa (In re: VeroBlue Farms USA, Inc., Case No. 18-01297 (Bankr. N.D. Iowa) (“In re VBF”). Alder, through
Thelander, Haarkoetter, Ebstein and McCowan, controlled VBF’s reorganization, first as the sole DIP lender and now,
as the sole shareholder of the reorganized entity.
                                                              2

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                                                     ARGUMENT

         A motion to dismiss under Rule 12(b)(6) should be granted only if it appears beyond a

doubt that the plaintiff can prove no set of facts in support of its claim which would entitle it to

relief. Conley v. Gibson, 335 U.S. 41, 48 (1957) (emphasis added); see also Fed. R. Civ. P.

12(b)(6); Bell Atlantic Corp v. Twombly, 550 U.S. 540, 570 (2007). Such a motion merely tests

the legal sufficiency of a complaint, requiring a court to construe the complaint liberally, assume

all facts as true, and draw all reasonable inferences in favor of the plaintiff. Twombly, 550 U.S. at

556-57. A complaint should never be dismissed because the court is doubtful that the plaintiff will

be able to prove all of the factual allegations contained therein. Id.

         McCowan argues that Founders’ separate claims for tortious interference against him fail

to allege sufficient facts. The elements for tortious interference with an existing contract under

Texas law include: (1) an existing contract subject to interference and (2) a willful and intentional

act of interference with the contract (3) that proximately caused the plaintiff’s injury and (4) caused

actual damages or loss. Founders have alleged more than adequate facts to establish each of these

elements and their claims should proceed accordingly.

         I.        McCowan Was Acting for His Personal Self Interest, and not as Agent for
                   VBF, in Encouraging VBF to Breach its Contracts with Founders.

         McCowan first suggests that element two was not met because, as CEO of VBF, he was an

agent of VBF and not legally capable of tortious interference with VBF’s contracts (MTD. Dkt.

No. 229 at 7-10). To be legally capable of tortious interference, McCowan must be a “stranger to

the contract” with which he allegedly interfered. Holloway v. Skinner, 898 S.W.2d 793, 795-95

(Tex. 1995) (recognizing the fundamental principle that a party to a contract cannot tortiously

interfere with its own contract.) A corporation’s agent is not a stranger to the contract and cannot

tortiously interfere with the corporation’s contract, unless the agent is acting in his or her own
                                                              3

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self-interest. Id. (holding that for an agent to be liable for tortious interference, the plaintiff had to

show that the agent acted so contrary to the principal’s best interests that his actions could only

have been motivated by personal interests).

         Founders have alleged how McCowan was acting to benefit himself and the other Alder

Defendants, not VBF, in directing VBF to breach their respective termination and employment

agreements. One of the first acts that VBF director Eva Ebstein asked McCowan to undertake

was to consult with legal counsel to find a way to avoid the obligations to the Founders due to their

“political agendas,” notably, not due to their performance as officers. (TPC, Dkt. No. 186, ¶¶ 35,

46 and Ex. E thereto). Ebstein was not an officer of VBF when she sent this email, but purportedly

an independent director (and the daughter of the largest shareholder). Thus, in following her

direction, McCowan was acting in the interest of himself and the majority shareholder, not that of

VBF. This is further evidenced by the fact that Ebstein appointed McCowan to replace Wulf as

CEO – he was personally rewarded with a promotion for carrying out Ebstein’s direction to breach

VBF’s agreements with Founders. (Id., ¶ 45.) McCowan also followed the Alder Defendants’

direction to use their counsel, Davis Graham & Stubbs (DGS), instead of VBF’s own corporate

counsel, Jackson Walker, to negotiate and document Wulf’s Separation agreement, (id,) further

evidence that McCowan’s motive was to benefit himself and the Alder Defendants and not VBF.

McCowan was able to keep his position as CEO throughout VBF’s Chapter 11 proceeding, due to

support from Alder and the other Alder Defendants.

         Founders cannot know what all McCowan was promised and given in exchange for

carrying out the Alder Defendants’ orders without further discovery, but the present facts alleged

clearly establish that McCowan was not acting to benefit VBF, but to benefit himself by currying

favor with Alder and the other Alder Defendants, and in fact, not even attempting to distinguish

                                                              4

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between the interests of VBF and Alder. These allegations are sufficient to permit Founders to

pursue a tortious interference claim against McCowan, even though he was an officer of VBF.

         II.       McCowan Cannot Assert VBF’s “Justification” in Breaching its Contacts with
                   Founders as a Basis for Dismissal.

         Next, McCowan argues that Plaintiffs did not allege sufficient facts to demonstrate that

McCowan actively persuaded VBF to breach the Termination Agreements. Specifically,

McCowan asserts that VBF had a contractual right to take the actions it did (invoking the

justification defense). Legal justification is an affirmative defense, which requires the defendant

to show that the interference: (1) was done in a bona fide exercise of the defendant’s own rights,

or (2) the defendant’s interest in the contract’s subject matter was equal or superior to the

plaintiff’s. Sterner, 767 S.W.2d at 691.                 McCowan appears to argue only the first type of

justification: that VBF was within its rights to terminate James Rea and to file suit against Hall

and T. Rea, despite having previously released them. (MTD, Dkt. No. 229 at 10-12.)3 McCowan

then claims that VBF was “justified” in bringing suit, despite the broad releases in T. Rea’s and

Hall’s Termination Agreements because those contracts did not include a covenant not to sue.

(MTD, p. 10.) Neither of these arguments holds merit.

                   A. The Releases in the Termination Agreement Act as a Bar to VBF’s Claims
                      against T. Rea and Hall.
         McCowan cites National Property Holdings, L.P. v. Westergren, 453 S.W.3d 419, 428-29

(Tex. 2015) for the proposition that a release is not a covenant not to sue. (MTD, Dkt. No. 229 at

11.) But whether a release or settlement agreement operates as a covenant not to sue depends on

the particular language used. In Westergren, the parties simply agreed to “release all liability”



3
  Part of this argument relies on VBF’s claim that the Termination Agreements are not enforceable because they were
fraudulently procured. (Id.) But invalidity of a contract is a separate defense from justification. Fed. R. Civ. P. 8(c)(1).
                                                              5

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related to a lis pendens and related claims in a pending lawsuit, and the release specifically

provided that it could be plead as an affirmative defense. Id. at 422. Similarly, in Cypress Engine

Access., LLC v. HDMS Ltd. Co, 283 F. Supp. 3d 580 (S.D. Tex. 2017), also cited by McCowan,

the parties could not even agree on what constituted their settlement agreement, disputing what

portion of a series of emails and a one-page outline was the final agreement. Id. at 583. That case

also related to claims already pending in a lawsuit. The releases granted by VBF to Hall and T.

Rea each are much broader and clearly evidence the parties’ intent not to sue each other in the

future. VBF not only agreed to “release, acquit and forever discharge” Hall and T. Rea from

“claims” and “liabilities” but also from “charges, complaints, actions, causes of action, suits.”

(Term. Ag., TPC, Dkt. No. 186, Exs. C, D, § 4(b) (emphasis supplied).) This language clearly

encompasses more than merely a release of potential liability or pending claims, but an agreement

to discharge the right to bring a “charge,” “complaint,” (like the Second Amended Complaint),

“cause of action” or “suit.”

         To that end, this case is more on point with Ganske v. WRS Group, Inc., Cause No. 10-06-

00050-CV, 2007 WL 1147357 (Tex. App. – Waco April 18, 2007, no pet.), where a company was

found liable for breach of the release in a settlement agreement with its former officer by bringing

suit (and the former officer was awarded attorneys’ fees incurred in enforcing the release as

compensatory damages). Although Ganske was decided before Westergren, the Texas Supreme

Court did not overrule Ganske in its decision and as noted by the district court in Cypress Engine,

the language in the Ganske release was more specific. Cypress Engine, 283 F. Supp. 3d at 587.

         The language in the Ganske release included a statement that it was intended to “buy his

peace and avoid costly and time costing [sic] litigation” by the company’s former president.

Ganske, 2007 WL 1147357 at *3. Here, T. Rea’s and Hall’s Termination Agreements expressly

                                                              6

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state that their purpose is to “resolve any clams they [VBF and Hall or T. Rea] may have against

each other.” (TPC, Dkt. No. 186, Exs. C, D, p.1, 4th “Whereas” clause.) Similar to the situation at

bar, in Ganske, the company’s majority shareholder chose to ignore the negotiated release with the

former president and filed suit for various business torts. Id. at *1, *4.

         As the Ganske court found: “There could be no more foreseeable consequence of a breach

of the settlement agreement that the cost of litigation than it was specifically designed to avoid.”

Id., 2007 WL 1147357 at * 3. Hall and T. Rea did not merely agree to a defense to any claim by

VBF, but negotiated to avoid any “charges, complaints, actions, causes of action, [and] suits”

from VBF. This language constitutes more than a release, but a complete discharge of any action

against them. By bringing the Second Amended Complaint against Hall and T. Rea, VBF has

breached that obligation and McCowan is liable for inducing and encouraging VBF to do so.

                   B. Whether Egregious Cause Existed Under the Employment Agreement
                      Justifying VBF’s Termination of James Rea is A Question of Fact.
         Also, McCowan claims VBF was justified in denying James Rea amounts due to him under

his Employment Agreement, because that contract permitted termination for Egregious Cause.

(MTD, Dkt. No. 229 at 11.) J. Rea and the Founders have alleged how VBF’s “Egregious Cause”

was fabricated, after the fact, as part of Alder Defendants plan to come up with any legal reason

to avoid payments to J. Rea and the Founders under their respective contracts. (TPC, Dkt. No.

186, ¶¶ 52-53, 67-61.) Regardless, this defense is fact-dependent, and cannot be ruled upon at the

pleading stage. This defense requires an inquiry into VBF’s ability to terminate the relevant

contracts, and VBF’s impetus to terminate and/or breach the agreements. The ultimate decision

as to which party is factually correct resides with the jury and cannot be resolved via this motion.




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         III.      VBF’s Confirmation Plan Explicitly Carved Out Founders’ Pending Claims
                   against McCowan and the Third-Party Defendants from Release and
                   Discharge.


         VBF urges this Court to dismiss Founders claims against McCowan because they were

encompassed in the discharge in VBF’s Reorganization Plan. (MTD, Dkt. No. 229 at 12-14.) This

ignores several specific modifications that Founders negotiated with VBF’s counsel in the

bankruptcy proceeding (and with VBF’s present litigation counsel, who was present at the

bankruptcy confirmation hearing) that carved out Founders’ claims from the discharge and releases

in the Reorganization Plan. The only appearance that Founders made in VBF’s Chapter 11

proceeding was to object to the nondebtor releases in the Reorganization Plan to the extent they

could apply to the affirmative defenses against VBF and claims against all Third-Party Defendants,

including McCowan, plead here.4 Founders’ original TPC was already pending against McCowan

and the Alder Defendants (filed April 10, 2019) when VBF’s Reorganization Plan was set for

confirmation (April 17-18). To that end, Founders objected to VBF’s plan, arguing that its releases

of certain nondebtor third parties, including all of the Third-Party Defendants, violated Bankruptcy

Code §§ 524(e) and 1129 (a), as well improperly deprived Founders of their right to assert claims

against Third Party Defendants and seek set off and recoupment against VBF. (Founders Plan

Objections, Dkt. No. 446, Ex. A, APP0004-008, ¶¶ 3, 4, 11, 14, 15, 16.) Founders explicitly

objected to the discharge in § 9.13 of the Plan, the very section that VBF relies upon, on these

grounds. (Founders Plan Objections, Dkt. No. 466, Ex. A, APP0071, ¶ 2.)




4
 See Objection of [Founder Defendants] to Amended Joint Chapter 11 Plan of Reorganization of VeroBlue Farms
USA, Inc. and its Affiliated Debtors, filed April 12, 2019, in In re VBF, Dkt. No. 446 and Supplement to Objection
of [Founder Defendants] Amended Joint Chapter 11 Plan of Reorganization of VeroBlue Farms USA, Inc. and its
Affiliated Debtors, filed April 15, 2019 (In re VBF, Dkt. No. 466). Together, the Bankruptcy Docket Items 446 and
466 filed by Founders are referred to as “Founders’ Plan Objections, and are attached hereto as Exhibit A, APP0001-
0074.
                                                              8

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         During the confirmation hearing on VBF’s Reorganization Plan, held before the

Bankruptcy Court in the Northern District of Iowa on April 17-18, 2019, Founders raised these

objections. The parties, including VBF and both sets of its counsel, and Alder Aqua, agreed to

certain modifications to VBF’s Reorganization Plan to address Founders’ objections, and VBF

submitted these to the Court as part of its final Reorganization Plan. (In re VBF, Bankr. Dkt. No.

511 (the “Modification”), attached as part of MTD, Dkt. No. 229, Ex. 2, pp.144-45.)                       The

Modification was included in Exhibit 2 to McCowan’s Motion to Dismiss, but is wholly ignored

in his argument. As relevant to McCowan’s claims, the VBF Reorganization Plan, as clarified by

the agreed Modification, provides:


                        •   As to Section 9.15 of the Plan, which released McCowan and the other
                            Alder Defendants, the parties agreed: “For the avoidance of doubt, Section
                            9.15 does not apply to the claims of any party to the litigation pending as
                            19-cv-764 in the United Stated District Court for the Northern District of
                            Texas, provided that such party does not receive payment or distribution
                            under the Plan. (Modification, MTD, Dkt. No. 229, Ex. 2, p. 144, ¶ 2
                            (emphasis supplied).)

                        •   The parties agreed to add a statement: “Notwithstanding any provision in
                            the Plan, upon entry of the Confirmation Order, parties in the litigation
                            pending as 19-cv-764, in the United States District Court for the Northern
                            District of Texas, may to the full extent the Bankruptcy Code permits, plead
                            any and all defenses for an amount up to but not exceeding any recovery
                            that may be obtained by the Debtors ,without prejudice to each parties’ right
                            to dispute such claims” (Id., pp. 144-45, ¶ 4.)
The Confirmation Order signed by the Bankruptcy Court recites that Founders’ Plan Objections

were resolved via the Modification and that document was incorporated into the Confirmation

Order. (Id., pp. 1, 8, ¶ L.) As Modification ¶ 2 provides, any release of McCowan or any of the

other Third-Party Defendants provided in VBF’s Reorganization Plan does not apply to Founders’

claims in this litigation, as long as they do not receive distributions or payments under the Plan.



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McCowan did not inform the Court of this provision and did not argue that it did not apply because

any of the Founders received distributions or payments under the Plan.5

         But McCowan asks this Court to circumvent the Modification by arguing the discharge of

VBF, provided in § 9.13 of the Plan, makes it impossible for Founders to allege breach against

VBF and therefore, makes it impossible to allege tortious interference against McCowan. (MTD,

Dkt. No. 229 at 13.) This is precisely why Founders objected to VBF’s discharge, to the extent it

would affect their defenses to VBF’s Complaint and the TPC and why they insisted on the

additional language in Paragraphs 2 and 4 of the Modification. These modifications apply

notwithstanding any provision of the plan and allows Founders to assert defenses against VBF in

this litigation. This provision was specifically included to address Founders’ anticipated

affirmative defenses against VBF and claims against third parties, which will allege breach of

Founders’ various agreements with VBF, and seek set off and/or recoupment against VBF for any

such breach. Thus, VBF’s Reorganization Plan, as clarified by the Modification, specifically

contemplated and permits Founders to allege that VBF breached its contracts with Founders,

and to seek setoff from VBF for any such breach. It follows then, that any such breach by VBF,

even if in the nature of setoff only, can then also serve as the basis for a finding that McCowan

induced that breach through his tortious interference. The Modification was negotiated to address

these very claims and therefore, the Plan does not discharge VBF’s liability, or McCowan’s

liability to Founders for these same claims.

         IV.       McCowan Actively Participated in VBF’s Breach of Founders’ Contracts.




5
  In fact, Founders did not submit proofs of claim in VBF’s Chapter 11 proceeding and will not receive any
distributions under VBF’s Reorganization Plan.
                                                             10

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         McCowan argues Founders’ claims must be dismissed because he was merely acting on

directions from some of VBF’s directors (the other third-party Defendants) and did not take an

“active role” in persuading VBF to breach the agreements. (MTD, Dkt. No. 299 at 14-15.)

Founders alleged multiple facts to the contrary. McCowan took over as interim CEO of VBF

immediately upon Wulf’s termination on November 6, 2017. (TPC, Dkt. No. 186, ¶¶ 7, 45.) There

are multiple facts alleged about his actions after that date that were directed at the Founders’

agreements with VBF. McCowan was present at a meeting with Wulf and James Rea, where

Defendants Dr. Happel and his daughter Ebstein, questioned Wulf’s actions with respect to

Haarkoetter, just days before Wulf was terminated. (Id., ¶ 43.) McCowan consulted with Alder’s

lawyers, DGS, instead of VBF’s longtime counsel, Jackson Walker, about terminating Wulf and

J. Rea and later, about refusing to make payment due to each of them under their respective

agreements. (Id., ¶¶ 45, 57.) As set forth in Ebstein’s email, McCowan, as CEO, was tasked with

coming up with a plan regarding “hiring and firing,” to consult with legal counsel “with respect to

the requirements of severance payments” and “to try and avoid this.” (Id., ¶ 46, Ex. E.) McCowan

signed Wulf’s Separation Agreement on behalf of VBF, three weeks after the direction from

Ebstein to “try and avoid” a “golden parachute of other people’ money,” and sent a termination

notice to James Rea just a few weeks later. (Id., ¶¶ 46, 49, 57-61, 47-51, 80, 87-89, and Exs. A,

B, E.)

         As CEO, McCowan was also involved in VBF’s decision to engage a consultant to perform

a second investigation of Haarkoetter’s behavior, but then only share the results of that

investigation with some of VBF’s directors, specifically the Alder Defendants. (TPC, Dkt. No.

186, ¶ 53.) Also, as VBF’s CEO, McCowan must have approved the filing of this lawsuit against

Founders in July 2018, despite clear releases of at least two of them. (Id., ¶¶ 61-64, 67-69, 77-79.)

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All these facts establish that McCowan actively participated in not merely a contract violation, but

a plan between himself and the other Alder Defendants to ignore Founders’ legal rights and

embroil them in litigation.

         V.        Founders’ Damages and Prayer for Attorneys’ Fees are Well Plead

         McCowan argues against three aspects of Founders’ requested relief: 1) that Hall and T.

Rea cannot seek attorneys’ fees as damages, 2) that none of the Founders are entitled to attorneys’

fees separately, and 3) there is no basis for exemplary damages. (MTD, Dkt. No. 229 at 15-18.)

                   A. Hall and T. Rea Can Recover the Attorneys’ Fees Incurred in Defending
                      against VBF’s Claims as Damages for Interference in their Releases.
         Addressing these in turn, McCowan first asserts that Hall and T. Rea cannot recover

attorneys’ fees they incur in defending themselves from VBF’s claims against them in the

Amended Complaint because that is not a separate lawsuit with a third party. (MTD, Dkt. No. 229

at 15-16.) Hall and T. Rea negotiated full and complete releases from VBF in their Termination

Agreements. McCowan, along with the other Third-Party Defendants, induced VBF to breach

these contracts and sue Hall and T. Rea on a plethora of matters that are clearly encompassed by

the releases. If not for McCowan’s interference with Hall’s and T. Rea’s agreements with VBF

and the releases contained therein, Hall and T. Rea would not have been pursued by VBF. This is

not an instance where Hall and Rea are trying to recover fees from McCowan in a case brought

by him against them. He is not a party to the Termination Agreements, and he has not brought

claims against Hall or T. Rea. This is not a cross claim against VBF for its breach of the

agreements. It is a third-party claim and involves McCowan’s separate individual liability to Hall

and T. Rea deriving from VBF’s liability to them under the agreements. Thus, this is the precise

type of exception in which attorneys’ fees are recoverable as damages: McCowan’s tortious acts,


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which were outside of his office as VBF’s CEO, lead Hall and T. Rea to be sued by VBF. The

fees Hall and T. Rea incur in defending against VBF’s claims are therefore, are damages resulting

from McCowan’s individual torts and recoverable as damages. Ganske, 2007 WL 1147357 at * 3

(“There could be no more foreseeable consequence of a breach of the settlement agreement than

the cost of litigation that it was specifically designed to avoid.”).

                   B. All Founders Can Recover Attorneys’ Fees Incurred in Pursuing their
                      Third Party Claims pursuant to Contract and Texas Statute.
         Separately, McCowan claims that he cannot be liable for attorney’s fees to Wulf or J. Rea

under TEXAS CIV. PRAC. & REM. CODE § 38.001 resulting from his tortious interference with their

respective Separation and Employment Agreements because Texas law does have a statute

providing for such recovery and there is no contract between Wulf and/or J. Rea, on the one hand,

and McCowan, on the other hand, permitting the recovery of attorney’s fees. (MTD, Dkt. No. 229

at 16-17.) It is important to note Founders’ requests for an award of attorneys’ fees under their

agreements and TEX. CPRC § 38.001 is different from those requested by Hall and T. Rea in

Counts 1 and 2. In their claims for tortious interference, Hall and T. Rea seek the attorneys’ fees

that they have incurred (and continued to incur) in defending against VBF’s claims against them

in the Amended Complaint. Those attorneys’ fees flow as consequential damages from; i) VBF’s

breach of its obligations under the release provisions of Hall’s and T. Rea’s Termination

Agreements, and ii) McCowan’s inducement of VBF’s breach (his tortious interference).

         All four Founders also seek recovery of the attorneys’ fees they incur in pursuing their

third-party claims against McCowan and the other third-party defendants, pursuant to the

provisions of their respective agreements (Hall, T. Rea, Wulf) and under TEX. CIV. PRAC. & REM.

CODE § 38.011 (J. Rea). Again, to the extent McCowan induced VBF to breach those agreements,

then the Founders are entitled to recover attorneys’ fees for that breach. VBF’s agreements with
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Hall, T. Rea and Wulf all contain specific provisions awarding attorney’s fees for a breach. And

§ 38.001 allows for the recovery of attorneys’ fees “if the claim is for … (8) an oral or written

contract.” The statute does not specify that the contract breached must be one between the same

parties to the litigation. It follows then, that a party who tortiously interferes with another party’s

contract, and thereby causes that contract to be breached, should bear the full cost of inducing such

breach, including contractually provided attorneys’ fees. Otherwise, the victim would be deprived

of part of relief for which he contracted.

         None of the cases that McCowan cites addresses this particular issue. In both cases he cites,

the court found that a breach of the underlying contract had not been established and there was no

separate basis for the recovery of attorneys’ fees. (MTD, Dkt. No. 229 at 15; Alma Group, LLC v.

Palmer, 143 S.W. 3d 840, 845 (Tex. App. – Corpus Christi – Edinburg 2004)(defendant failed to

prove breach of contract or tortious interference); Ed Rachel Foundation v. D’Unger, 117 S.W. 3d

348, (Tex. App. – Corpus Christi – Edinburg 2003)(defendant failed to recover damages on breach

of contract claim).) Here, if Founders were to prevail, they would have established a breach of

multiple written contracts and § 38.001 would apply to permit the recovery of their fees incurred

pursuing that breach.

                   C. Founders Have Adequately Alleged Fraud and Malice to Support an
                      Award of Exemplary Damages.
         Finally, McCowan claims Founders have not adequately alleged fraud, malice, or gross

negligence on his part to justify an award of punitive damages. (MTD, Dkt. No. 229 at 17.)

McCowan points to Founders’ allegations that his conduct, along with that of the other Defendants,

was “intentional, malicious, and vindictive” and states that such a conclusion is insufficient. (Id.)

But this ignores multiple other factual allegations in the TPC, including:


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              •    The Alder Defendants (which include McCowan) withheld funds from VBF’s
                   credit facility until certain of the Founders were terminated (evidence of fraud)
                   (TPC, Dkt. No. 186, ¶ 35);

              •    McCowan imposed additional conditions on Hall and T. Rea’s severance payments
                   after the fact (vindictiveness) (Id., ¶ 41);

              •    McCowan supported Happel’s implication that Wulf should not have reported
                   Haarkoetter’s harassment and inappropriate behavior (fraud) (Id., ¶ 43);

              •    The Alder Defendants planned to create ways to avoid payments due to Founders
                   under their agreements and tasked McCowan with coming up with this plan
                   (malice) (Id., ¶ 46);

              •    McCowan, along with the other Alder Defendants, knew that Wulf’s wife had
                   multiple sclerosis and agreed to a provision in Wulf’s Separation Agreement to
                   pay his health insurance for 12 months, but then failed to make these payments,
                   resulting in Wulf and his wife being denied medication coverage (fraud and malice)
                   (Id., ¶¶ 50, 55);

              •    McCowan along with the Alder Defendants engaged an outside firm to investigate
                   Haarkoetter’s behavior and later, James Rea’s expenditures, but then refused to
                   share the results of these reports with anyone but themselves, (fraud and malice)
                   (Id., ¶¶ 53, 61); and

              •    McCowan and the Alder Defendants considered Founders to have a “political
                   agenda” with regard to Haarkoetter and wanted to terminate anyone who
                   “willing[ly] collude[d]” with them in that agenda (malice) (Id., ¶ 47).
         The campaign Founders allege in the TPC is not merely a soured business relationship or

sharp-elbowed economic competition. This was a premeditated, intentional, vindictive plan to

punish Founders for trying to protect their employees from a harassing and bullying director and

owner and to enable the Alder Defendants to usurp control of VBF to the exclusion of hundreds

of other investors. There are more than sufficient allegations of fraud and malice, just based on

the information that Founders know today, to support their claims for exemplary damages.




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                                                   CONCLUSION

         For all the reasons set forth herein, Third-Part Plaintiffs, Leslie Wulf, John E. (Ted) Rea,

Bruce Hall, and James Rea, respectfully request that this Court deny Third-Party Defendant,

Norman McCowan’s Rule 12(b)(6) Motion to Dismiss the Amended Third-Party Complaint and

award them any and all other relief that it deems necessary and just.



Date: January 13, 2020                                   LESLIE WULF, BRUCE HALL,
                                                         JOHN (TED) REA, JAMES REA

                                                         By: /s/ Kimberly D. Annello
                                                                 Kimberly D. Annello
                                                                 Texas Bar No. 24093704
                                                                 David Campbell
                                                                 Texas Bar No. 0369850
                                                                 Eli Pierce
                                                                 Texas Bar No. 24092972
                                                                 Underwood Perkins, P.C.
                                                                 5420 LBJ Freeway, Suite 1900
                                                                 Dallas, Texas 75240
                                                                 Phone: 972.661.5114
                                                                 Email: kannello@uplawtx.com
                                                                         dcampbell@uplawtx.com
                                                                         epierce@uplawtx.com


                                                                   Attorneys for Defendants, Leslie Wulf,
                                                                   Bruce Hall, John (Ted) Rea, and James
                                                                   Rea


                                         CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this 13th day of January, 2020 a true and correct
copy of the above and foregoing was served upon counsel of records for all parties via ECF
Service.


                                                         /s/ Kimberly D. Annello
                                                          Kimberly D. Annello

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